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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                         CASE NO. 15-60116-CIV-DIMITROULEAS/Snow

  NICHOLAS DAVIS,

                 Plaintiff,

  v.

  WAFFLE HOUSE, INC.,,

              Defendant.
  _____________________________________________/

                                         AMENDED ORDER1
                 THIS CAUSE is before the Court on Plaintiff's Motion to Compel (ECF No. 29)

  which was referred to Lurana S. Snow, United States Magistrate Judge. On June 19, 2015, the Court

  ordered the Defendant to file a response to the Plaintiff's motion on or before June 26, 2015. (ECF

  No. 30) For the reasons that follow, the Plaintiff's motion is granted.

                 This is a diversity action arising out of a slip and fall which occurred on the premises

  of the Defendant's Fort Lauderdale restaurant. The instant motion concerns the Plaintiff's efforts to

  obtain a copy of a video in the Defendant's possession, which Defendant, citing Bolitho v. Home

  Depot USA, Inc., 2010 WL 2639590 (S.D. Fla., June 29, 2010), identifies as work product.

  According to the Plaintiff, the video documents the slip and fall at the heart of this case. It is

  distinguishable from a surveillance video taken after an incident an in anticipation of litigation,

  which clearly would be work product.

                 In Bolitho the court reasoned that a video documenting the incident described in the

  plaintiff's complaint could be withheld until after the her deposition so that the defendant would be


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             Shortly after the Court's Order was entered, the parties advised that they had
  submitted a proposed order on the Plaintiff's motion to Judge Dimitrouleas. The proposed order
  was not sent to the undersigned, who was unaware that the parties had reached an agreement, nor
  was anything filed on the record. This Order is amended only to reflect that the motion is not
  granted by default, and to set a deadline for production of the surveillance footage which was
  agreed to by the parties.
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  better able to impeach the plaintiff with the video. However, this court previously has rejected the

  conclusion reached in Bolitho under similar facts. See Muzzaffarr v. Ross Dress for Less, 941

  F.Supp.2d. 1373 (S.D. Fla. 2013) (characterizing a videotape documenting a slip and fall primarily

  as substantive evidence rather than impeachment evidence which should not be withheld for strategic

  reasons). Because the primary evidentiary value of a video documenting the Plaintiff's fall in this

  case is proof of the underlying facts surrounding the incident, its production should not be delayed.

  Id. Accordingly, it is hereby

                 ORDERED AND ADJUDGED that the Plaintiff's Motion to Compel (ECF No. 29)
  is GRANTED. The Defendant shall produce surveillance footage of the subject incident within 30

  days from the date of this Order.

                 DONE AND ORDERED at Fort Lauderdale, Florida, this 30th day of June, 2015.




  Copies to:
  All Counsel of Record and Pro Se Parties




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